Case 2:05-CV-02221-SHI\/|-STA Document 31 Filed 07/18/05 Page 1 of 3 Page|D 38

n FH.H)BV
IN THE UNITED STATES DISTRICT coURT ` nc'

FoR THE wEsTERN DISTRICT oF TENNESSEE _
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LoUIS MITCHELL, ET AL., OEH%%§H§Y&§§UW
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Plaintiffs,
v. No. 05-2221-Mav

MARKUS MCNEIL, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is defendant James Bolden's July 5, 2005r
unopposed motion to file a reply memorandum in further support of
his motion to dismiss. For good cause shown, the motion is
granted and defendant James Bolden, in his individual capacity,
may file his reply memorandum.

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lt is 30 oRDERED this /“‘£uay cf July, 2005.

_MM/%_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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